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         Exhibit D
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Colleen Barnes


From: Fred Willis NFL Players Brains Matter <fred.willis@hpnneurologic.com>
Date: May 27, 2017 at 11:52:20 AM EDT
To:
Subject: An Invitation From Fred Willis & NFL Players Brains Matter-NFL Retired Players Champions Chat
& Q & A, Friday June 2nd Bonaventure Resort Weston, FL
Reply-To: us3-bd2b808f6d-3eab3e45bc@conversation01.mailchimpapp.com



                     Fred Willis & NFL Players Brains Matter Invites You and Your Wife   View this email in your browser
                     or Significant Other to the NFL Retired Players Champions Chat
                     and Q & A - Friday, 6:30 PM, June 2, 2017, Bonaventure Hotel,
                     Weston, FL.




                      NFL PLAYERS BRAINS MATTER™
                                                 FOR PLAYERS ONLY




                        NFL Players Brains Matter Invites
                                      You
                         Fred Willis, Founder & Executive Director of NFL Players Brains
                           Matter, a former NFL player, player rep and NFLPA executive
                        committee board member, who played 8 years with the Cincinnati
                       Bengals, Houston Oilers and Denver Broncos would like to take this
                                                     opportunity to invite you to:




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       NFL Retired Players Champions Chat and Q
                                         & A?
                       Friday, June 2nd - 6:30PM
                          Bonaventure Resort & Spa,
                         250 Racquet Club Rd, Weston, FL 33326




       “We’ll Talk Brother to Brother about All Your Options for the NFL
    Concussion Lawsuit, and What You Need to Know to Prepare Through
              Our Respective Lenses for a Qualifying Diagnosis”


                              Topics of Discussion

                      1. There is a lot of Misinformation out there!
                  2. Nothing Happens Until You Get Baseline Tested!
                             3. The Pathway to qualifying!
              4. The difference between an MAF exam vs. a BAP exam!
    5. Discussing the Monetary Award Settlement Claims Process-The claims process



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    for a monetary award could become very complicated and challenging if the proper
               preparation and steps are not taken throughout the process.
      6. The Lien Resolution Process and what that means for the NFL Concussion
                                           Settlement.




                                Champions Chat RSVP




       Due to the lack of information out there to retired NFL players suffering from
       mental and physical illnesses, mood swings, uncontrolled anger, depression,
    suicidal tendencies and eventually dementia — from repeated head trauma arising
                 from concussions we received during our playing careers.


     To those of us characterized by this disease, this 2 hour FREE symposium is an
        opportunity to increase your quality of life and seek to examine the health
    conditions that affect retired NFL players and to find better ways to diagnose, treat,
    and prevent their most pressing medical problems and get them the benefits they
                                            deserve.




      As a retired NFL Player if you have NOT been tested or received a
    baseline assessment examination to "Qualify" for the NFL Concussion
                     Lawsuit, please click on the button below?


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                     Press Here If You Have Not Been Tested



      For Your Information A "Qualifying Diagnosis" would have to include:

    (a) A standardized neuropsychological examination in accordance with the testing
    protocol performed by a neuropsychologist certified by the American Board of
    Professional Psychology (ABPP) or the American Board of Clinical
    Neuropsychology (ABCN), a member board of the American Board of Professional
    Psychology, in the specialty of Clinical Neuropsychology, who is a Qualified MAF
    or BAP Provider; and

    (b) A basic neurological examination performed by a board-certified neurologist
    who is a Qualified MAF or BAP Provider.




                      Press Here If You Have Not Been Tested




                  Presenting Keynote Speakers

    Our "Panel of Experts" will include Player Relation and Family Advisor, Research
      Advisor, Board Certified Neurologist and Neuroradiologists Memory Specialists
                              and Claims Process Adviser .




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                                       Fred Willis

         Fred Willis is the Founder, President and CEO of HPN Neurologic, HPN
     Concussion Management and NFL Players Brains Matter dedicated to solve the
                            sports concussion crisis in America.


    Fred Willis is frequently credited with being the person/advocate most responsible
    for bringing the plight of his NFL brothers and the concussion and CTE crisis to the
     forefront of consciousness. Over 4 years his aggressive advocacy has reshaped
    how we understand, research, and treat the effects of brain trauma. His programs
    honor a decision, action and initiative that has contributed to proving classification
        and qualification for the NFL Concussion Lawsuit, The 88 Plan and Total &
                               Permanent Disability Benefits.


    Fred Willis’ aim within the NFL Retired Player community is to influence decisions
       and to provide step-by-step information to successfully obtain and guarantee
     retired players the benefits they deserve. He is dedicated to retaining the leading
    experts in science and medicine to evaluate former player’s baseline requirements
         to present their claims in the most favorable light to determine how much
                  compensation a player and their family are entitled to.


      Fred’s’ leadership in this field has made him a force and sought-after voice for
       TBI/CTE awareness, and he has shared his story and work at corporations,
                 medical conferences, schools, and sports organizations.




                                  Dr. Frank Conidi




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    Dr. Frank Conidi is a Boston trained sports neurologist/headache specialist. He is
     the Director of the Florida Center for Headache and Sports Neurology a tertiary
      center dedicated to the treatment of patients with chronic/refractory headache
    disorders and sports related concussion and sports related neurological disorders.
    The center is currently evaluating and has evaluated over 200 retired NFL players
         for signs of progressive neuro-degenerative disorders. He is a nationally
     recognized expert on sports concussion and the team neurologist for the NHL’s
     Florida Panthers and has served as a consulting neurologist for the NFL, USTA,
      NCAA and MLB players. Dr. Conidi is currently developing and participating in
     clinical trials for sports concussion and headache and is the founder and Chair of
     The Seeing Stars Foundation a 501c3 charity dedicated to funding research and
      education for sports related concussion and sports related neurological issues.




                                Eliot Budnick, D.O.

    Eliot Budnick, D.O. is a board certified Diagnostic and Neuroradiologist who is the
    Co-Founder and Partner at iCare Radiology. iCare Radiology is a state-of-the art
      imaging center leading the nation in metabolic brain imaging, with specialized
     expertise in evaluating Alzheimer's dementia and sports related traumatic brain
                                          injuries.


     Dr. Budnick co-founded iCare Radiology after a vast career in radiology imaging,
       and nearly 15 years of experience, including reading a wide array of imaging
       modalities from inner city trauma cases to outpatient clinics and urgent care
                        centers, locally and throughout the nation.




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                                Jeffrey S. Bong., CAQ

       Jeffrey S. Bong, D.O., CAQ neuroradiologist, is a co-founder and practicing
    member for iCARE Radiology, LLC, located in Port St. Lucie, FL. He completed his
       neuroradiology fellowship at the University of Texas, Southwestern in Dallas,
     Texas and became board-certified in neuroradiology in 2010. He completed his
     general diagnostic radiology residency at Michigan State University in 2009, and
           served as chief resident at Mount Clemens Regional Medical Center.


     Dr. Bong has a keen interest in Alzheimer's dementia, as well as, sports-related
     traumatic brain injury, and is actively involved, along with his co-founder, with the
         IDEAS-STUDY (The Imaging Dementia-Evidence for Amyloid Scanning).




        You Can Only Be Examined by A Qualified MAF or BAP
                             Doctor!


                    “MAF VS BAP EXAM!”

    Players will be examined by a Qualified/Administrator Approved MAF Neurologist
        and Neuropsychologist who are board-certified doctor approved physicians
       authorized to make a “Qualifying Diagnosis”. Qualified MAF Physicians will
         diagnose all 5 levels of disease, Level 1.5 and Level 2.0 Neurocognitive
             Impairment, Alzheimer's disease, Parkinson's disease and ALS.


     A Qualified MAF Physician is a board-certified doctor who is part of an approved
      list of physicians authorized to make a “Qualifying Diagnosis”. Qualified MAF


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             Physicians will diagnose all 5 levels of disease, Level 1.5 and Level 2.0
      Neurocognitive Impairment, Alzheimer's disease, Parkinson's disease and ALS.


      A Qualified BAP Physician will only diagnose dementia Level 1.0, Level 1.5 and
     Level 2.0 Neurocognitive Impairment, they will not diagnose Alzheimer's disease,
        Parkinson's disease and ALS. Retired NFL Football Players diagnosed during
            their BAP baseline assessment examinations—which are paid for by the
     settlement fund—are not sufficient to diagnose Alzheimer's, Parkinson's, or ALS.


       Former players who worry they may have those (3) three other conditions
       will have to pay out of pocket for additional testing by an MAF physician.




         IT COULD EASILY TAKE 6 MONTHS TO 1 YEAR BEFORE YOU WILL BE
                          SCHEDULED FOR TESTING WITH A BAP DOCTOR
       NFL Player Brains Matter, will assist you in obtaining an examination through a
     MAF Provider! We will work with you to help schedule an immediate examination
      with approved MAF doctors. If the process is confusing or you need assistance,
                                        please do not hesitate to contact me.




                                  Press Here If You Have Not Been Tested




     CONFIDENTIALITY NOTE: As an Advocate for retired NFL Players I abide by Model Rule 5.4(c); ABA Formal Ethics Opinion
    87-355 (1987) which prohibits sharing fees with non-lawyers. This extends to agreements with non-attorneys to solicit clients in
    return for a share of the fees. I am not a spokesperson for the NFL. The information contained herein expresses the opinions of
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